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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA                          ) CR 215-02

           V.



JOHN WAINRIGHT, ET AL.

                                          0RDER

       Based upon the application of the Government, and for good cause shown therein. it is

hereby ORDERED that the above-styled indictment, and all process issued thereunder, be

unsealed

       So ORDERED this ____ day of March, 2015.




                                    1-JON R ST —
                                               BAKER- -
                                                      '
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
